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 1                                                                    Judge Richard A. Jones
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
 9
      UNITED STATES OF AMERICA,                           NO. CR09-158RAJ
10
                               Plaintiff,
11
                         v.                               ORDER GRANTING GOVERNMENT’S
12
                                                          MOTION FOR COURT ORDER
13                                                        DIRECTING IMMIGRATION &
      KAUSHAL KAINTH, et al.                              CUSTOMS ENFORCEMENT (ICE) and
14
                                                          CUSTOMS & BORDER PATROL (CBP)
15                                                        TO RETAIN CERTAIN SEIZURES
                              Defendants.
16
17
     TO:     Immigration & Customs Enforcement, Seattle, Washington
18
             United States Customs & Border Protection, Seattle, Washington
19
             THIS MATTER is before the Court on the Government’s Motion for Court Order
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     Directing Immigration and Customs Enforcement (ICE) and Customs and Border
21
     Protection (CBP) to Retain Certain Seizures.
22
             HAVING CONSIDERED this motion, the file and the records in this case, and
23
     there being no opposition, the Court orders Immigration and Customs Enforcement and
24
     Customs and Border Protection to retain the following drug seizures from this case:
25
             Seizure Number 2009300100008301
26
             Seizure Number 2009300100008401
27
             Seizure Number 2009300100008501
28
     ///
     Order Granting Government’s Motion for Court Order                        UNITED STATES ATTORNEY
                                                                               1201 PACIFIC AVENUE, SUITE 700
     Directing ICE/CBP to Retain Certain Seizures                               TACOMA, WASHINGTON 98402
     CR09-158RAJ/Kainth, et al. - 1                                                    (253) 428-3800
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 1           THESE SEIZURES shall be retained until further order of this Court.
 2
             DATED this 24th day of July, 2015.
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 5
                                                          A
                                                          The Honorable Richard A. Jones
 6                                                        United States District Judge
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     Order Granting Government’s Motion for Court Order                         UNITED STATES ATTORNEY
                                                                                1201 PACIFIC AVENUE, SUITE 700
     Directing ICE/CBP to Retain Certain Seizures                                TACOMA, WASHINGTON 98402
     CR09-158RAJ/Kainth, et al. - 2                                                     (253) 428-3800
